17-11542-mg        Doc 63      Filed 02/20/19       Entered 02/20/19 10:26:08     Main Document
                                                   Pg 1 of 5


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
In re:

JOE’S PLACE OF THE BRONX, NY, INC.,                             Case No.: 17-11542-mg

                                    Debtor.                     Chapter 11
------------------------------------------------------X

     ORDER ESTABLISHING DEADLINE FOR FILING PROOFS OF CLAIM AND
        APPROVING THE FORM AND MANNER OF NOTICE THEREOF

          Upon the application of the above-captioned Debtor and Debtor in Possession (the

“Debtor”), for an order, pursuant to Federal Rule of Bankruptcy Procedure (“Bankruptcy Rule”)

3003(c)(3), fixing a deadline (the “Bar Date”) and establishing procedures for filing proofs of

claim and approving the form and manner of service thereof, and it appearing that the relief

requested is in the best interests of the Debtor, its estate, and creditors and that adequate notice

has been given and that no further notice is necessary; and after due deliberation and good and

sufficient cause appearing therefor, it is hereby

          ORDERED, that except as otherwise provided herein, all persons and entities,

(including, without limitation, individuals, partnerships, corporations, joint ventures, trusts and

governmental units) that assert a claim, as defined in Section 101(5) of the Bankruptcy Code,

against the Debtor which arose on or prior to the filing of the Chapter 11 petition on June 2, 2017

(the “Filing Date”), shall file a proof of such claim in writing or electronically on the Court’s

website at www.nysb.uscourts.gov so that it is received on or before April 10, 2019; and it is

further

          ORDERED, that the following procedures for the filing of proofs of claim shall apply:

          (a)    Proofs of claim must conform substantially to Official Bankruptcy Form No. 410;
17-11542-mg      Doc 63     Filed 02/20/19     Entered 02/20/19 10:26:08       Main Document
                                              Pg 2 of 5


       (b)     Attorneys (with full access accounts) and employees of institutional creditors

               (with limited access accounts) should file proofs of claim electronically on the

               Court’s Case Management/Electronic Case File (“ CM/ECF”) system. Those

               without accounts to the CM/ECF system may electronically create and file proofs

               of claim through the “File A Proof of Claim” link on the Court’s website at

               www.nysb.uscourts.gov or by mailing or delivering the original proof of claim to

               the United States Bankruptcy Court, Southern District of New York, One

               Bowling Green, New York, New York 10004;

       (c)     Proofs of claim will be deemed filed only when received by the Clerk of the

               Bankruptcy Court on or before the Bar Date;

       (d)     Proofs of claim must (i) be signed; (ii) include supporting documentation (if

               voluminous, attach a summary) or an explanation as to why documentation is not

               available; (iii) be in the English language; and (iv) be denominated in United

               States currency; and it is further

       ORDERED, that the following persons or entities need not file a proof of claim on or

prior to the Bar Date:

       (a)     Any person or entity that has already filed a proof of claim against the Debtor

               with the Clerk of the Bankruptcy Court for the Southern District of New York in a

               form substantially similar to Official Bankruptcy Form No. 410;

       (b)     Any person or entity whose claim is listed on the Schedules filed by the Debtor,

               provided that (i) the claim is not scheduled as “disputed,” “contingent” or

               “unliquidated”; and (ii) the claimant does not disagree with the amount, nature

               and priority of the claim as set forth in the Schedules;
17-11542-mg         Doc 63    Filed 02/20/19    Entered 02/20/19 10:26:08        Main Document
                                               Pg 3 of 5


        (c)     Any holder of a claim that heretofore has been allowed by Order of this Court;

        (d)     Any person or entity whose claim has been paid in full by the Debtor;

        (e)     Any holder of a claim for which specific deadlines have previously been fixed by

                this Court;

        (f)     Any holder of a claim allowable under § 503(b) and § 507(a)(2) of the

                Bankruptcy Code as an expense of administration; and it is further

        ORDERED, that any person or entity that holds a claim that arises from the rejection of

an executory contract or unexpired lease, as to which the order authorizing such rejection is

dated on or before the date of entry of this Order, must file a proof of claim based on such

rejection on or before the Bar Date, and any person or entity that holds a claim that arises from

the rejection of an executory contract or unexpired lease, as to which an order authorizing such

rejection is dated after the date of entry of this Order, must file a proof of claim on or before such

date as the Court may fix in the applicable order authorizing such rejection; and it is further

        ORDERED, that holders of equity security interests in the Debtor need not file proofs of

interest with respect to the ownership of such equity interests, provided, however, that if any

such holder asserts a claim against the Debtor (including a claim relating to an equity interest or

the purchase or sale of such equity interest), a proof of such claim must be filed on or prior to the

Bar Date pursuant to the procedures set forth in this Order; and it is further

        ORDERED, that if the Debtor amend or supplement the Schedules subsequent to the

date hereof, the Debtor shall give notice of any amendment or supplement to the holders of

claims affected thereby, and such holders shall be afforded thirty (30) days from the date of such

notice to file proofs of claim in respect of their claims and shall be given notice of such deadline;

and it is further
17-11542-mg      Doc 63        Filed 02/20/19    Entered 02/20/19 10:26:08        Main Document
                                                Pg 4 of 5


        ORDERED, that nothing in this Order shall prejudice the right of the Debtor or any

other party in interest to dispute or assert offsets or defenses to any claim reflected in the

Schedules; and it is further

        ORDERED, that pursuant to Bankruptcy Rule 3003(c)(2), all holders of claims that fail

to comply with this Order by timely filing a proof of claim in appropriate form shall not be

treated as a creditor with respect to such claim for the purposes of voting and distribution; and it

is further

        ORDERED, that a copy of the notice substantially in the form annexed hereto is

approved and shall be deemed adequate and sufficient if served by first-class mail at least thirty-

five (35) days prior to the Bar Date on:

        (a)    The United States Trustee;

        (b)    Counsel to each official committee;

        (c)    All persons or entities that have requested notice of the proceedings in the

               Chapter 11 case;

        (d)    All persons or entities that have filed claims;

        (e)    All creditors and other known holders of claims as of the date of this Order,

               including all persons or entities listed in the Schedules as holding claims;

        (f)    All parties to executory contracts and unexpired leases of the Debtor;

        (g)    All parties to litigation with the Debtor;

        (h)    The Internal Revenue Service for the district in which the case is pending and, if

               required by Bankruptcy Rule 2002(j), the Securities and Exchange Commission

               and any other required governmental units (a list of such agencies is available

               from the Office of the Clerk of the Court); and
17-11542-mg       Doc 63      Filed 02/20/19    Entered 02/20/19 10:26:08         Main Document
                                               Pg 5 of 5


          (i)    Such additional persons and entities as deemed appropriate by the Debtor; and it

                 is further

          ORDERED, that any person or entity who desires to rely on the Schedules will have the

responsibility for determining that the claim is accurately listed in the Schedules; and it is further

          ORDERED, that the Debtor is authorized and empowered to take such steps and perform

such acts as may be necessary to implement and effectuate the terms of this Order; and it is

further

          ORDERED, that entry of this Order is without prejudice to the right of the Debtor to

seek a further order of this Court fixing a date by which holders of claims or interests not subject

to the Bar Date established herein must file such proofs of claim or interest or be barred from

doing so.



IT IS SO ORDERED.
Dated: February 20, 2019
       New York, New York

                                               _____/s/ Martin Glenn_______
                                                      MARTIN GLENN
                                               United States Bankruptcy Judge
